(1 of 6), Page 1 of 6     Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 1 of 6




                                              No. 24-6338


                         IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT
                                   ______________________

                                      JEFFREY POWERS, et al.,

                                                      Plaintiffs-Appellees,

                                                    v.

                              DENIS RICHARD McDONOUGH, et al.,

                                                  Defendants-Appellants
                                      ______________________

                            On Appeal from the United States District Court
                                 for the Central District of California
                                     ______________________

                           MOTION TO STRIKE PARTIAL JOINDER
                           TO THE EMERGENCY MOTION TO STAY
                                  ______________________

               MARK D. ROSENBAUM                         CARTER G. PHILLIPS
               KATHRYN A. EIDMANN                        TACY F. FLINT
               AMANDA K. PERTUSATI                       MARK C. PRIEBE
               AMANDA M. SAVAGE                          SIDLEY AUSTIN LLP
               AMELIA PIAZZA                             One South Dearborn Street
               PUBLIC COUNSEL LAW CENTER                 Chicago, Illinois 60603
               610 S. Ardmore Avenue                     (312) 853-7000
               Los Angeles, California 90005
               (213) 385-2977


                                      Counsel continued to second page
(2 of 6), Page 2 of 6           Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 2 of 6




               EVE L. HILL                                         ROMAN M. SILBERFELD
               JAMIE STRAWBRIDGE                                   DAVID MARTINEZ
               BROWN GOLDSTEIN & LEVY, LLP                         TOMMY H. DU
               120 E. Baltimore St., Suite 2500                    ROBINS KAPLAN LLP
               Baltimore, Maryland 21202                           2121 Avenue of the Stars, Suite 2800
               (410) 962-1030                                      Los Angeles, California 90067
                                                                   (310) 552-0130
               T.E. GLENN
               AMANDA POWELL
               CHARLES KOHORST
               INNER CITY LAW CENTER
               1309 East Seventh Street
               Los Angeles, CA 90021
               (213) 891-2880


                Counsel for Plaintiffs-Appellees, Deavin Sessom, Douglas Guthrie, Jeffrey Powers, Joseph Fields,
                Joshua Robert Petitt, Lavon Johnson, Laurieann Wright, and National Veterans Foundations




                                                               2
(3 of 6), Page 3 of 6            Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 3 of 6




                                               MOTION TO STRIKE
                        Pursuant to Federal Rule of Appellate Procedure Rule 27, Plaintiffs respectfully
              request that the Court strike the Partial Joinder to the Emergency Motion for Stay filed
              by the Regents of the University of California (“UC Regents”). Dkt. 15.1.
                        As an initial matter, the UC Regents is not a party to this appeal and has not
              requested to intervene. Additionally, although its filing is styled a “partial joinder,” the
              UC Regents in fact seeks relief not requested in the motion it purports to “join.” Dkt.
              15.1 at 2 (noting that “the Federal Government Defendants do not seek a stay of a
              portion of that Judgment that deserves a stay—the voiding of the University’s lease and
              the Judgment’s injunction directed at the University and its lease”). For these reasons,
              its request for joinder is procedurally improper. See East Bay Sanctuary Covenant v. Biden,
              102 F.4th 996, 1001 (9th Cir. 2024) (“This Court disfavors putative intervenors who
              merely seek to ‘attack or thwart’ a remedy.”). Indeed, the UC Regents appealed and filed
              its own separate motion for stay in its other appeal. See Mot. to Stay Proceedings, Powers
              et al. v. McDonough et al., No. 24-6338 (9th Cir. Nov. 20, 2024).
                        Moreover, the UC Regents is judicially estopped from seeking an emergency
              stay—i.e., the very relief it purports to seek by joining the Government’s emergency
              stay motion. “Judicial estoppel, sometimes also known as the doctrine of preclusion of
              inconsistent positions, precludes a party from gaining an advantage by taking one
              position, and then seeking a second advantage by taking an incompatible position.”
              Rissetto v. Plumbers and Steamfitters Local 343, 94 F.3d 597, 600 (9th Cir. 1996). Here, the
              UC Regents previously represented to the trial court that, if it were granted the interim
              relief it sought from that court, it would not face any emergency supporting an
              emergency stay. Specifically, on October 28, 2024, the UC Regents represented to the
              trial court and the parties that the UC Regents would not seek emergency relief with
              the Ninth Circuit if it was allowed use of the baseball facilities on the VA property
              through and including July 4, 2025. It was based on this representation that the trial


                                                            1
(4 of 6), Page 4 of 6             Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 4 of 6




              court agreed to modify its injunction. Specifically, counsel for UC Regents (Mr.
              Cardozo) made the following representations:

                        MR. SILBERFELD: Mr. Cardozo and I had a conversation about this
                        topic of they’re withdrawing their extraordinary relief petitions in the
                        circuit. I believe he’s agreeable that they will do so if the Court enters the
                        order that's tentatively –
                        THE COURT: Would you ask him though? I’m uncomfortable as a Judge
                        –
                        MR. SILBERFELD: Sure.
                        THE COURT: -- asking any party to give up a right.
                        MR. SILBERFELD: Sure.
                        THE COURT: I really
                        MR. CARDOZO: Yeah, I can attest that, Your Honor. We do not
                        intend to ask the Circuit for emergency relief if there is no
                        emergency. That’s an extraordinary ask of an Appellate Court and with
                        this order we don’t see that there would be an emergency that would
                        require us. There was a procedural order at the Ninth Circuit that took
                        emergency order motion off calendar out of first appeal and instead put it
                        in the second appeal from the final judgment. So, in fact, there is no
                        emergency motion pending before the Ninth Circuit. We would need to
                        refile it and with this order we would not need to refile it.

              Powers et al. v. McDonough et al., No. 2:22-cv-08357, ECF No. 390, Hr’g Tr. 50:13-51:9,
              attached hereto as Exhibit A (emphasis added). Following this representation, the
              district court granted the relief the UC Regents requested. Id., ECF No. 389, attached
              hereto as Exhibit B; see also Exhibit A, Hr’g Tr. 49:25-50:1-10, 50:13-51:9.
                        In light of the UC Regents’ prior representation, and its prevailing on the
              obtaining the relief it sought in the district court, there is no basis for the UC Regents
              to join in the Government’s request for an emergency stay of the Court’s judgment.
              The UC Regents is judicially estopped from arguing otherwise.

                                                              2
(5 of 6), Page 5 of 6            Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 5 of 6




                                                    CONCLUSION
                        For the foregoing reasons, Plaintiffs respectfully request that this Court strike
              the UC Regents’ Partial Joinder.


              Dated: November 21, 2024                       Respectfully submitted,

                                                                /s/ Mark D. Rosenbaum
               Carter G. Phillips                               Mark D. Rosenbaum
               Tacy F. Flint                                    Kathryn A. Eidmann
               Mark C. Priebe                                   Amanda K. Pertusati
               SIDLEY AUSTIN LLP                                Amanda M. Savage
               One South Dearborn Street                        Amelia Piazza
               Chicago, Illinois 60603                          PUBLIC COUNSEL LAW CENTER
               Telephone: (312) 853-7000                        610 S. Ardmore Avenue
               Facsimile: (312) 853-7036                        Los Angeles, California 90005
               cphillips@sidley.com                             Telephone: (213) 385-2977
               tflint@sidley.com                                Facsimile: (213) 385-9089
               mpriebe@sidley.com                               mrosenbaum@publiccounsel.org
                                                                apertusati@publiccounsel.org
                                                                asavage@publiccounsel.org
                                                                apiazza@publiccounsel.org

               Eve L. Hill                                      Roman M. Silberfeld
               Jamie Strawbridge                                David Martinez
               BROWN GOLDSTEIN & LEVY, LLP                      Tommy H. Du
               120 E. Baltimore St., Suite 2500                 ROBINS KAPLAN LLP
               Baltimore, Maryland 21202                        2121 Avenue of the Stars, Suite 2800
               Telephone: (410) 962-1030                        Los Angeles, California 90067
               Facsimile: (401) 385-0869                        Telephone: (310) 552-0130
               ehill@browngold.com                              Facsimile: (310) 229-5800
               jstrawbridge@browngold.com                       rsilberfeld@robinskaplan.com
                                                                dmartinez@robinskaplan.com
               T.E. Glenn                                       tdu@robinskaplan.com
               Amanda Powell
               Charles Kohorst
               INNER CITY LAW CENTER


                                                            3
(6 of 6), Page 6 of 6           Case: 24-6576, 11/21/2024, DktEntry: 39.1, Page 6 of 6




               1309 East Seventh Street
               Los Angeles, CA 90021
               Telephone: (213) 891-2880
               tglenn@innercitylaw.org
               apowell@innercitylaw.org
               apowell@innercitylaw.org

                Counsel for Plaintiffs-Appellees, Deavin Sessom, Douglas Guthrie, Jeffrey Powers, Joseph Fields,
                Joshua Robert Petitt, Lavon Johnson, Laurieann Wright, and National Veterans Foundations




                                                               4
